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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                       )
In re                                                  )      Chapter 11
                                                       )
TOUGH MUDDER INC., et al., 1                           )      Case No. 20-10036 (CSS)
                                                       )
                      Debtors.                         )      Jointly Administered
                                                       )
                                                       )      Objection Deadline:
                                                       )      March 13, 2020, at 4:00 p.m. (EDT)
                                                       )      Hearing Date:
                                                       )      March 23, 2020, at 2:00 p.m. (EDT)
                                                       )

            CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
            ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
        AND REIMBURSEMENT OF EXPENSES FOR RETAINED PROFESSIONALS

                 Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) hereby respectfully moves (the “Motion”) as follows:

                                        RELIEF REQUESTED

                 1.      By this Motion, pursuant to sections 105(a), 330(a), and 331 of title 11 of

the United States Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 2016-2 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Trustee requests entry of an order (the “Proposed Order”), substantially in the form

attached hereto as Exhibit A, establishing an orderly, regular process for the allowance and


1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
         The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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payment of compensation for professional services rendered and reimbursement of expenses

incurred by Professionals (as defined below).              Specifically, the Trustee proposes that the

payment of fees and reimbursement of expenses of the Professionals retained in the Chapter 11

Cases be structured in accordance with the procedures annexed as Exhibit 1 to the Proposed

Order and incorporated herein by reference (the “Compensation Procedures”). 2

               2.       The Trustee requests that the Court limit service of the Applications to the

Notice Parties (each as defined below). The Trustee further requests that all other parties that

have filed a notice of appearance with the Clerk of the Court and requested notice of pleadings in

the Chapter 11 Cases shall be entitled to receive only notice of hearings on the Applications (the

“Hearing Notices”). Serving the Applications and the Hearing Notices in this manner will

permit the parties most active in the Chapter 11 Cases to review and object to the Professionals’

fees and expenses and will save unnecessary duplication and mailing expenses.

                                   JURISDICTION AND VENUE

               3.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012.

               4.       This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2), and, pursuant to Local Rule 9013-1(f), the Trustee consents to the entry of a final

order by the Court in connection with this Motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments consistent with

Article III of the United States Constitution.


2
       Unless specifically set forth herein, and for the avoidance of doubt, the Trustee’s proposed Compensation
       Procedures shall not override compensation procedures in any separate order of the Court approving the
       employment and retention of any Professional.



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               5.      Venue of the Chapter 11 Cases and related proceedings is proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

               6.      On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc., filed involuntary petitions under

chapter 11 of the Bankruptcy Code against Tough Mudder and TM Events.

               7.      On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18]. The Court entered an order approving the

appointment of the Trustee on January 30, 2020 [D.I. 24] (the “Appointment Date”), and the

Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since that time, the Trustee has

managed the Debtors’ affairs pursuant to section 1106 of the Bankruptcy Code. No official

committee has been appointed in the Chapter 11 Cases.

               8.      A more detailed description of the Debtors’ business and the facts and

circumstances leading to the Chapter 11 Cases is set forth in the Declaration of Kyle McLaughlin

in Support of Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and

Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’

Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and

Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,

and (V) Granting Related Relief (the “McLaughlin Declaration”). 3 This Motion incorporates by

reference the facts set forth in the McLaughlin Declaration as if fully set forth herein.


3
       The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for
       Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement
       by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
       Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and


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           RETENTION OF PROFESSIONALS IN THE CHAPTER 11 CASES

               9.     The Trustee has filed, or anticipates filing, applications to retain the

following professionals in the Chapter 11 Cases: (a) Morris, Nichols, Arsht & Tunnell LLP as

counsel; and (b) Verdolino & Lowey, P.C. as accountant and financial advisor (each a

“Professional” and, collectively with any other subsequently retained professionals under section

327(a) and/or 1103 of the Bankruptcy Code, the “Professionals”). The Trustee may also retain

other Professionals in the Chapter 11 Cases as the need arises, and any official committee

appointed in the Chapter 11 Cases would also retain Professionals.

                     THE PROPOSED COMPENSATION PROCEDURES

               10.    As detailed in Exhibit 1 to the Proposed Order, the Compensation

Procedures will establish a streamlined process for the payment of retained Professionals during

the Chapter 11 Cases. Pursuant to the Compensation Procedures, the Professionals will file and

serve monthly applications (the “Monthly Fee Applications”) with the Court for approval of 80%

of their fees and 100% of expenses, upon notice to key parties, including (a) proposed counsel to

the Trustee, (b) the Debtors’ 20 largest unsecured creditors on a consolidated basis, and (c) the

Office of the United States Trustee for the District of Delaware (the “U.S. Trustee,” and together

with the other parties in (a) and (b), collectively, the “Notice Parties”). Every three months, the

Professionals may file and serve interim fee applications (the “Interim Fee Applications”) with

the Court for approval of the 20% holdback of their fees. At the conclusion of the Chapter 11

Cases, the Professionals will file and serve final fee applications (the “Final Fee Applications”

and, collectively with the Monthly Fee Applications and Interim Fee Applications, the

“Applications”) for final approval of 100% of their fees and 100% of their expenses.

       Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related
       Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief [D.I. 30].



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               11.     The Trustee believes that the proposed Compensation Procedures will

enable the Trustee to: (a) closely monitor the costs of administering the Chapter 11 Cases,

(b) maintain an appropriate level of liquidity so as to ensure the Debtors’ estates’ continued

ability to satisfy such costs, and (c) forecast level cash flows that account for the amount and

timing of such costs. Moreover, the proposed Compensation Procedures will streamline the

administration of the Chapter 11 Cases and otherwise expedite the bankruptcy process for the

Court, the U.S. Trustee, and parties in interest.

                                       BASIS FOR RELIEF

               12.     Section 330 of the Bankruptcy Code provides, in relevant part, that:

                      After notice to the parties in interest and the United States Trustee
               and a hearing, and subject to sections 326, 328, and 329, the court may
               award to . . . a professional person employed under section 327 or 1103—
                                (A) reasonable compensation for actual, necessary services
               rendered . . . and
                                (B) reimbursement for actual, necessary expenses.

11 U.S.C. § 330(a)(1) (2018).

               13.     Section 331 of the Bankruptcy Code provides, in relevant part, that:

               [A] debtor’s attorney, or any professional person employed under section
               327 or 1103 of this title may apply to the court not more than once every
               120 days . . . or more often if the court permits, for such compensation for
               services rendered before the date of such an application or reimbursement
               for expenses incurred before such date as is provided under section 330 of
               this title. After notice and a hearing, the court may allow and disburse to
               such applicant such compensation or reimbursement.

Id. § 331. Under section 331 of the Bankruptcy Code, professionals are limited to seeking

payment of fees and expenses to no more than three times per year. However, section 331 also

expressly allows a court to permit the more frequent filing of such applications.

               14.     Further, section 105(a) of the Bankruptcy Code authorizes a court to

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions



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of [the Bankruptcy Code],” thereby codifying the bankruptcy court’s inherent equitable powers.

Id. § 105(a).

                 15.   Interim compensation procedures are necessary to avoid having

professionals fund the bankruptcy cases. See In re Mariner Post-Acute Network, Inc., 257 B.R.

723, 727–28 (Bankr. D. Del. 2000) (approving entry of such an order and explaining that more

frequent payment avoids “‘impos[ing] an intolerable burden on [the professionals] and . . .

plac[ing] them at a significant economic disadvantage’” while also permitting the debtors to

“better manage their cash flow” (quoting S. Elizabeth Gibson, A Guide to the Judicial

Management of Bankruptcy Mega–Cases, 18 (1992)). Factors to consider in deciding whether to

establish interim compensation procedures include the size of the case, the complexity of the

issues involved, and the time required on the part of the professionals for the debtor in providing

services necessary to achieve a successful reorganization. See id. at 730 (citing U.S. Trustee v.

Knudsen Corp. (In re Knudsen Corp.), 84 B.R. 668, 672–73 (B.A.P. 9th Cir. 1988)).

                 16.   Here, implementation of the proposed Compensation Procedures is

justified and in the best interest of the Debtors’ estates and their creditors. The proposed

Compensation Procedures will (a) enable the Trustee and parties in interest to closely monitor

costs of administration relating to the Chapter 11 Cases, (b) allow the Court and parties in

interest to ensure the reasonableness and necessity of the compensation and reimbursement of

expenses, (c) substantially reduce the burden imposed on the Court by avoiding the need for

immediate review of Monthly Fee Applications, and (d) eliminate undue financial burdens on the

Professionals.    Moreover, absent streamlined compensation procedures, the professional fee

application and review process could impose an unnecessary burden on the Trustee, the Court,

the Professionals, and other parties in interest. The proposed Compensation Procedures will




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greatly simplify the process and preempt unnecessary Court involvement and expenditure of

judicial resources. Accordingly, the Trustee submits the relief requested herein is necessary,

appropriate, and in the best interests of the Debtors, their estates, and their creditors, and as such

should be granted.

                                             NOTICE

               17.     Notice of this Motion will be provided to the following parties or, in lieu

thereof, their counsel, if known: (a) the U.S. Trustee; (b) the Debtors’ 20 largest unsecured

creditors on a consolidated basis; and (c) any other party that has requested notice pursuant to

Local Rule 2002-1(b).       Based on the nature of the relief requested herein, the Trustee

respectfully submits that no further notice is required.



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               WHEREFORE, the Trustee respectfully requests that the Court enter the

Proposed Order, substantially in the form attached as Exhibit A, granting the relief requested

herein and such other and further relief as the Court deems just and proper.

 Dated: February 28, 2020              MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                      Proposed Counsel for Derek C. Abbott, Esq., as
                                      Chapter 11 Trustee to Tough Mudder Inc. and
                                      Tough Mudder Event Production Inc.




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